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                                   8                                 UNITED STATES DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   9
                                                                           SAN JOSE DIVISION
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                                  11    UNITED STATES OF AMERICA,                            Case Nos. 10-CR-00117-LHK
                                                       Plaintiff,                                      06-CR-00095-LHK
                                  12
Northern District of California
 United States District Court




                                                v.                                           ORDER DENYING MOTION FOR
                                  13                                                         CONCURRENT SENTENCES
                                  14    FRANCISCO ALCAZAR,                                   Re: Dkt. No. 31
                                  15                    Defendant.

                                  16

                                  17          On February 15, 2006, Defendant Francisco Javier Alcazar (“Defendant”) was indicted for

                                  18   distribution of methamphetamine and possession with intent to distribute methamphetamine, in

                                  19   violation of 21 U.S.C. § 841. See United States v. Alcazar, Case No. 06-CR-00095 (“2006 Case”),

                                  20   ECF No. 5. On September 28, 2009, Defendant pleaded guilty to a Superseding Information,

                                  21   which charged Defendant with two counts of using a cellular telephone to commit a controlled

                                  22   substance offense, in violation of 21 U.S.C. § 843(b). See 2006 Case, ECF No. 125 (“Superseding

                                  23   Information”); ECF No. 123 (“2006 Case Plea Agreement”). Defendant agreed in the 2006 Case

                                  24   Plea Agreement to a sentence of “36 months imprisonment for count 1 to run consecutively to 48

                                  25   months for count two for a total of 84 months imprisonment.” See 2006 Case Plea Agreement, ¶

                                  26   8. Moreover, in the 2006 Case Plea Agreement Defendant waived his right to “file any collateral

                                  27   attack on [his] conviction(s) or sentence.” See id. ¶ 5.

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                                       Case Nos. 10-CR-00117-LHK, 06-CR-00095-LHK
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                                   1          On February 3, 2010, Defendant failed to appear for sentencing in the 2006 Case. See

                                   2   2006 Case, ECF No. 132.

                                   3          On February 17, 2010, Defendant was charged in a separate indictment for one count of

                                   4   violating 18 U.S.C. § 3146(a)(1) by failing to appear for sentencing. United States v. Alcazar, 10-

                                   5   CR-00117 (“2010 Case”). On June 9, 2011, Defendant pleaded guilty to violating 18 U.S.C. §

                                   6   3146(a)(1), and Defendant entered into a Plea Agreement wherein Defendant agreed to a sentence

                                   7   of “24 months imprisonment and 3 years of supervised release . . . to be served consecutively to

                                   8   the binding sentence of 7 years of imprisonment and 3 years of supervised release in” the 2006

                                   9   Case. See 2010 Case, ECF No. 24 (“2010 Case Plea Agreement”), ¶ 8. Further, in the 2010 Case

                                  10   Plea Agreement Defendant waived his right to “file any collateral attack on [his] convictions or

                                  11   sentence.” Id. ¶ 5.

                                  12          On August 4, 2011, Defendant was sentenced in the 2006 Case to 84 months imprisonment
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                                  13   on Count One of the Superseding Information, and 48 months imprisonment on Count Two of the

                                  14   Superseding Information, to be served consecutively to each other. See 2006 Case, ECF No. 154.

                                  15   On that same day, Defendant was sentenced in the 2010 Case to a sentence of 24 months

                                  16   imprisonment, to be served consecutively to Defendant’s sentence in the 2006 Case. See 2010

                                  17   Case, ECF No. 27.

                                  18          On October 13, 2015, Defendant filed a “Motion to Requested Sentence Term to Run

                                  19   Concurrently.” ECF No. 31. Defendant argued that he “was prosecuted for the same offense and

                                  20   given multiple punishment for the same offense,” in violation of the Double Jeopardy Clause of

                                  21   the U.S. Constitution. Id. at 11. On February 9, 2017, the Government filed a brief in opposition.

                                  22   ECF No. 35.

                                  23          The Double Jeopardy Clause provides a Defendant “protection against multiple

                                  24   punishments for the same offense.” United States v. Scarano, 76 F.3d 1471, 1474 (9th Cir. 1996).

                                  25   “An indictment is multiplicitous if it charges a single offense in more than one count.” United

                                  26   States v. Awad, 551 F.3d 930, 937 (9th Cir. 2009). “The test for multiplicity is whether each count

                                  27   ‘requires proof of a[n additional] fact which the other does not.’” Id. (quoting Blockburger v.

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                                   1   United States, 284 U.S. 229, 304 (1932)). For the reasons discussed below, Defendant’s motion is

                                   2   without merit.

                                   3          First, the two counts in Defendant’s 2006 Case are not multiplicitous of each other.

                                   4   Defendant acknowledged in the 2006 Case Plea Agreement that the conduct at issue in Count One

                                   5   occurred on November 19, 2005, and the conduct at issue in Count Two occurred on January 31,

                                   6   2006. See 2006 Case Plea Agreement. Thus, Defendant pleaded guilty to violating § 843(b) on

                                   7   two occasions by making two separate phone calls on two separate dates. Defendant’s

                                   8   consecutive sentences do not violate the Double Jeopardy Clause. See United States v. Moore,

                                   9   653 F.2d 384, 391 (9th Cir. 1981) (holding that defendant could be sentenced consecutively for

                                  10   two counts of soliciting money in exchange for a promise not to testify because the defendant

                                  11   made two separate phone calls and “each call . . . require[d] proof distinct from the other.”).

                                  12          Second, the charge in Defendant’s 2010 Case is not multiplicitous of the charges in
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                                  13   Defendant’s 2006 Case. Defendant pleaded guilty in the 2010 Case to failing to appear for

                                  14   sentencing on February 3, 2010, in violation of 18 U.S.C. § 3146(a). This is an entirely separate

                                  15   offense from the offenses at issue in Defendant’s 2006 Case and occurred on a separate date.

                                  16   Accordingly, Defendant’s consecutive sentence in the 2010 Case does not violate the Double

                                  17   Jeopardy Clause. See Moore, 653 F.2d at 391; see also Blockburger, 284 U.S. at 304.

                                  18          Finally, as stated above, the 2006 Case Plea Agreement and the 2010 Case Plea Agreement

                                  19   both contained language waiving Defendant’s right to collaterally attack his sentence. See 2006

                                  20   Case Plea Agreement, ¶ 5 (“I agree to waive any right I may have to file any collateral attack on

                                  21   my conviction(s) or sentence.”); 2010 Case Plea Agreement, ¶ 5 (same). Accordingly, Defendant

                                  22   has waived his right to bring the instant motion.

                                  23          For the foregoing reasons, Defendant’s motion is DENIED.

                                  24   IT IS SO ORDERED.

                                  25   Dated: February 16, 2017

                                  26                                                       ______________________________________
                                                                                           LUCY H. KOH
                                  27                                                       United States District Judge
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